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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA              :       Criminal No. 20-524 (FLW)
                                      :
       v.                             :
                                      :       SCHEDULING ORDER
JAKIM STRADFORD                       :



      This matter having come before the Court for arraignment; and the

United States being represented by Craig Carpenito, United States Attorney for

the District of New Jersey (by Christopher Matthews, Special Assistant United

States Attorney, appearing); and the Defendant being represented by Scott

Krasny, Esq.; and the parties having conferred prior to arraignment and having

determined that this matter may be treated as a criminal case that does not

require extensive discovery within the meaning of paragraph 3 of this Court’s

Standing Order for Criminal Trial Scheduling and Discovery; and the parties

having agreed on a schedule for the exchange of discovery and the filing and

argument of pretrial motions; and the Court having accepted such schedule,

and for good cause shown,

      It is on this 9th day of July, 2020, ORDERED that:

      1.    The Government shall provide all discovery required by Federal

Rule of Criminal Procedure 16(a)(1) on or before July 24, 2020.

      2.    The Government shall provide exculpatory evidence, within the

meaning of Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, on or

before July 24, 2020. Exculpatory evidence that becomes known to the



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Government after that date shall be disclosed reasonably promptly after

becoming known to the Government.

        3.     The Defendant shall provide all discovery required by Federal Rule

of Criminal Procedure 16(b)(1) on or before August 14, 2020.

        4.     The Defendant shall provide any and all notices required by

Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3 on or before August

21, 2020.

        5.     The following shall be the schedule for pretrial motions in this

matter:

             a) The Defendant shall file any and all pretrial motions, pursuant to

Federal Rules of Criminal Procedure 12(b) and 41(h), in the manner set forth in

L. Civ. R. 7.1, on or before August 21, 2020;

             b) The Government shall file any response to the Defendant’s pretrial

motions on or before September 11, 2020;

             c) The Defendant shall file any reply on or before September 18,

2020;

             d) Oral argument on pretrial motions shall be held on a date to be set

by the Court



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      6.     Pursuant to paragraphs 17 to 21 of the Court’s Standing Order No.

15-2, the Court shall, in consultation with the parties, schedule a final pretrial

conference that will be held no sooner than two (2) weeks following the

disposition of pretrial motions. If appropriate, a trial date will be set at this

final pretrial conference.




                                       _________________________________
                                       HON. FREDA L. WOLFSON
                                       Chief United States District Judge




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